                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                         DOCKET NO. 3:07CR211-4-R


UNITED STATES OF AMERICA            )
                                    )
            v.                      )       ORDER
                                    )
GREGORY A. MASCARO,                 )
                                    )
                  Defendant.        )
____________________________________)


      THIS MATTER is before the Court on the Government’s “Motion To Unseal Record” filed

November 12, 2008 (Doc. No. 123).    For the reason stated therein, the Motion is hereby

GRANTED.

      SO ORDERED.



                                           Signed: December 3, 2008




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